AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Middle District
                                                 __________         of North
                                                             District        Carolina
                                                                       of __________

                  United States of America
                             v.                                      )
                                                                     )        Case No.    1:18CR337-1
                DASHAWN TYREAK DIXON                                 )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      DASHAWN TYREAK DIXON                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment          u Information        u Superseding Information             u Complaint
u Probation Violation Petition             u Supervised Release Violation Petition         u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Felon in possession of a firearm in violation of 18:922(g)(1) and 924(a)(2)

                                     **The United States Attorney requests a detention hearing**




Date:         08/28/2018                                                                   John S. Brubaker, Clerk
                                                                                            Issuing officer’s signature

City and state:       Greensboro, North Carolina                                     /s/ Samantha S. Hicks, Deputy Clerk
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title




                           Case 1:18-cr-00337-TDS Document 3 Filed 08/28/18 Page 1 of 2
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




                           Case 1:18-cr-00337-TDS Document 3 Filed 08/28/18 Page 2 of 2
